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                                                                                               FILED
                                                                                    U.S. DISTRICT COURT
                   IN THE UNITED STATES DISTRICT COURT FOR THS^UGUSiA Dl.V.
                               SOUTHERN DISTRICT OF GEORGIA
                                           DUBLIN DIVISION                         20JUL-7 PH 3:52
                                                    *
TERRELL PORTER,                                                                   CLERK
                                                    *
                                                                                      S0.DI6T.
                                                    *
        Plaintiff,
                                                    *


                                                    *
                  V.                                                     CV 318-069
                                                    •k


                                                    •k
DEPUTY SHERIFF ANTHONY WRIGHT,
in his individual capacity;
SHERIFF LARRY DEAN, in his
                                                    ■k
official capacity; and LAURENS
                                                    ■k
COUNTY, GEORGIA,
                                                    ■k

                                                    •k
        Defendants.




                                                 ORDER



        Before         the   Court    is   the   Parties'       joint motion for in camera

review and extension of time for Defendants to file reply brief.

(Doc.      No.     72. )      The     Parties    seek     in    camera    review          of    redacted


documents produced in connection with Mr. Spears' deposition.                                           The


Parties      ask       the   Court    to   determine      whether      the    redactions          relate


to   the     pending         motion    to    enforce      the    settlement         agreement           and

whether       the      documents       should     remain       redacted.          Defendants           also


seek    an    extension         to    file    their      reply    brief      in    support        of    the

motion       to    enforce      the    settlement        agreement       because          they    cannot

complete the brief until the redaction issue is                                   resolved and the

deposition completed.

        Upon due consideration,                  IT IS HEREBY ORDERED that                     Plaintiff

submit       the       unredacted          documents      to     the   Clerk        along        with     a
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particularized   and   meaningful        explanation     for    each      intended

redaction.    The   Clerk   is   DIRECTED    to   file   the     documents     and


explanations EX PARTE, UNDER SEAL.           IT   IS   FURTHER    ORDERED     that


Defendants shall have until fourteen (14) days after Mr. Spears'

deposition is completed to file their reply brief.


     ORDER ENTERED at Augusta,                                    day of July,

2020.




                                           UNITED STATES       DISTRICT    JUDGE




                                     2
